       Case 2:24-cv-01123-SPL Document 22 Filed 06/21/24 Page 1 of 1




 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8                                               )   No. CV-24-01123-PHX-SPL
      Stenson Tamaddon LLC,
 9                                               )
                                                 )
                       Plaintiff,                )   ORDER
10                                               )
      vs.
11                                               )
                                                 )
      United States Internal Revenue             )
12    Service, et al.,                           )
13                                               )
                                                 )
                       Defendants.               )
14
15          Before the Court is Plaintiff’s Motion for Preliminary Injunction (Doc. 14).
16   Accordingly,
17          IT IS ORDERED that a Preliminary Injunction Hearing is set for July 16, 2024, at
18   9:00 a.m., before the Honorable Judge Steven P. Logan, United States District Judge, in
19   the Sandra Day O’Connor United States Courthouse, located at 401 West Washington
20   Street, Phoenix, Arizona 85003, 5th Floor, Courtroom 501.
21          IT IS FURTHER ORDERED that the parties shall file a Joint Notice by June 28,
22   2024, indicating whether the motion may be decided on the briefing and argument of
23   counsel alone.
24          Dated this 18th day of June, 2024.
25
26                                                    Honorable Steven P. Logan
27                                                    United States District Judge

28
